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      "'
  Pro Se 14JRev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



                                          UNITED STATES DISTRICT COURT
                                                                              for the                                     RECEIVED
                                                                             District of                                          MAR. ()·8 2024
                                                                                 Division                                               CLERK
                                                                                                                           U.S. DISTRICT COURT

                                                                                           Case No.    g·'
                                                                                                       ~-Q~__Q_QD§:_.2£:e"-_f..lSi:.
                                                                                 )
                                                                                                        (to be filled in by the Clerk's Office)
                                                                                 )
                                                                                 )
·::-(Jtrile.theful/ name of each plaintiff who is filing this complaint.         )
 ,.· If the naines ofall the plaintiffs 'cannot fit in the space above,          )
    please write '.'J:ee attached" in the space and a/lach an additional
    page with the full list ofnaines.)                                           )

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                                I


                                                                                 )
                                                                                 )
                            . Defendant(s)                                       )
 (Write the full name of each defendant who is being sued. !fthe
                                                                                 )
 names of all the defendants cannot fit in the space above, please
 write "see attached'.' in the space and a/lach an additional page
 with-the full list of names. Do not include addresses hue.)



                                    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                (Prisoner Complaint)


                                                                             NOTICE

      Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
      electronic court files. Under this rule, papers filed ~ith the court should not contain: an individual's full social
      security number or full birth date; the full name of a person known to be a minor; or a complete financial account
      number. A filing may include only: the last four digits of a social security number; the year of an individual's
      birth; a minor's initials; and the last four digits of a financial account number.

     Except as noted in this form, plaintiff 11eed not send exhibits, affidavits, grievance or witness statements, or any
     other materials to· the Clerk's Office with this complaint.

     In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
     forma pauperis.




                                                                                                                                                  Page I of 11
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I.        The Parties to This Complaint

          A.         The Plaintiff(s)


                     Provide the information below for each plaintiff named in the complaint. At:tach additional pages if
                     needed. .                                                            -
                           Name
                           All other names by which
                           you have been known:
                            ID Number
                           Current Institution
                           Address




          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
                     listed below are identical to those contained in the above caption. For an individual defendant, include
                     the person's job or title (if known) and check whether you are bringing this complaint against them in their
                     individual capacity or official capacity, or both. Attach additional pages if needed.

                     Defendant No. I
                           Name
                           Job or Title (if known)
                           Shield Number
                           Employer
                          .Address.



                                                                            11J Individual capacity     !itJ Official capacity
                     Defendant No. 2
                           Name
                           Job or Title (1fk11ow11J
                           Shield Number
                           Employer
                           Address



                                                                            ~ Individual capacity       ~ Official capacity



                                                                                                                                 Page 2 of I I
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     Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)


                            Defendant No. 3
                                    Name
                                    Job or Title (if known)
                                    Shield Number
                                    Employer
                                    Address

                                                                                           Citv                Stale             Ziv Code
                                                                                 0 Individual capacity     D Official capacity

                             Qefendant No. 4




                                                                                                                                                       l
                                    Name
                                                                                  -------··---···-------····- - - -
                                    Job ol'Title (({known)
                                    Shield Number
                                    Employer
                                    Address
                                                                                 ---------------------------------------

                                                                                           Citv                State             Ziv Code
                                                                                 D Individual capacity     0 Official capacity
     II.       Basis for Jurisdiction

               Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
               immunities secured by the Constitution and [federal laws]." Under Bive,"is v. Six Unknown Named Agents of
               Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of ce1tain
               constitutional rights.

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                                                                 all that
                                                                       •
                                                                          apply):
                                                                            ,
                              0 Federal officials (a Bivens claim)
                              I}(! State or local officials (a § I 983 claim)
               B.           Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                            the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                            federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




               C.           Plaintiffs suing under Bivens may only recover for the violation of ce1tain constitutional rights. If you
                            are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                            officials?



                                                                                                                                        Page 3 of 11
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          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territo1y or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.




III.      Prisoner Status

          Indicate whether you are a prisoner or other confined person as follows (checka/1 that apply):
          D           Pretrial detainee

          0           Civilly committed detainee

         •D           Immigration detainee

          0           Convicted and sentenced ·state prisoner

          D ·• •Convicted and sentenced federal prisoner
          0     Other (explain)

IV;      Statement of Claim

       }state -~s ti;i_efly ~s :p9ssibl~ the facts of your case._., D_esc,ribe j1()W each defendant was,per;sonaliy invo'ived Ill tile_
       • alleged wrongfulaction, along with .the dates arid loca:tions· of ali'i;elevant events. You· may wish to· i11chide            ,
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number-each claim and write a short and plain
         statement of eacl:i-claim in a separate paragraph. •Atta1.:h additional pages if needed.


         A.          If the events giving rise to your claim arose outside an institution, describe where and when they arose.




         B.          If the events giving rise to your claim arose in an institution, describe where and when they arose.




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                     -~ k                ~lJ ~rnvt G~~~D UUYLY~ Jct,t (
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         C.          What date and approximate time did the events giving rise to your claim(s) occur?




         D.




                                                                                                                                           I
                                                                                                                                           I

V.       Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.

                                          fbr\Lt J Lt-0~ W\;M kev/




VI:      Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any {:ases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.

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                      @w\j LDIL~f}'Qu,thf ~-ed. 4f




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VII.     Exhaustion of Administrative Remedies Administrative Procedures

         The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that "[n]o action shall be brought
         with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
         in any jail, prison, or other correctional facility until such administrativeremedies as are available are
         exhausted."

         Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
         exhausted your administrative remed.ies.

          A.          Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                       g]· Yes
                       [J No
                      lfyes, name the jail, prison, or other correctional facility where you were confined at the time of the
                      events giving rise to your claim(s) • .j.1,\- il •t!i)Uf\Kl( t,ol!.ft.R~jf1Vl-f_       V$




          B.          Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
                      procedure?

                       D Yes
                       0 No


          C.           Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                       cover some or all of your claims?

                        D Yes
                       )iD No
                        0 Donotknow
                       If yes, which claim(s)?




                                                                                                                            Page 6 of 11
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         D.          Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
                     concerning the facts relating to this complaint?

                       ~ Yes
                       0 No
                      If no, did you file a grievance about the events described in this complaint at any other jail, prison, br
                      other correctional facility?

                       l:lZ!_ Yes

                      .□ No


         E.           If you did file a grievance:

                      1.    Where did you file the grie~nce?.                    {                                   , /}
                                                                 ..L r1 l41Q l       C.Dblr1KLJ-_C8 tlfl-eti-~ l'c-11,µ




                      2.    What did you claim in your grievance?

                                 ~ ':C' i'tCLl&-Q o_l,L<eady d6n.e #iH r; m_/7



                      3.    What was the result, if any?

                                          ' I ~ - ~ nD -z:, h:tvevt,<+ ~ c.J:o ~kl-~
                                          VY\\f ~n.at

                      4.    What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
                            not, explain why not. (Describe all efforts to appeal to the highest level ofthe grievance process.)

                                        :-.1'- c__c.ll ~ --r~ 1vesJc-, bmtlt-§.P #elf
                                    'b<=i''-J' L~ wtiS /'Pt q tllf-evthtv1 fYlp,,,-tk-12-


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         F.          If you did not file a grievance:

                      1.    If there are any reasons why you did not file a grievance, state them here:

                            1 w~s }o-~ct                                  ~ ~--~~ct ~ou.llln.lt ~12-N?lbe
                                 ~       t ,YvJJ ~'\_\en.w
                     2.     If you did not file a grievance but you did infonn officials of your claim, state who you informed,
                            when and how, and their response, if any:..     •                         , ,_ .

                                   :r W\"-J_ ToJd u-e~)L ivf q_ff.;ILen\f
                                             OCt,,-\--CS )'\o ~                 ~._e_


         G.          Please set forth any additional infonnation that is relevant to the exhaustion of your administrative

                      remedies.        \-le c.,~                    mt .S.ew.l>t!..-~"\I ~ - - ~
                                   ~uvi thu,k --.v~-ey rvtqJ& Ct WLtS s1c~tL:JJ
                     -----=°'-"-"---'~c.::___---·
                                                -               •   t--                       .      - . -   1:-E> .Jla.JL~-uiL-{th.
                      (Note: You may attach as exhibits to th;s complaint any documents related to the exhaustion ofyour                  V
                      administrative remedies.)

VIII. Previous Lawsuits

      • ·-: Th~ i~tnree ~trik~s rule"-bars a prisoner from bringi,ng a civil action or an appeal in federal court. without 'paying
            the fiiing fee if that prisoner has "on three 'or more prior occasions; while· incarcerated or detainelin' any fa'.dlity,
            brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
            malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
            danger of serious physicalinjury." 28 U.S.C. § 1915(g).

          To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?

          D Yes


          If yes, state which comt dismissed your case, when this occurred, and attach a copy of the order if possible.




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              A.          Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                          action?

                            ~ Yes

                           ~ No

               B.          If your answer to A is yes, describe each lawsuit by answering questions I through 7 below. (If there is
                           more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

                          J. Parties-to the previous lawsuit-- - - - --                                   _   _ ;: - -.. -

                                 Plaintiff(s)      :-Tu~ _vu.___ ~_U{_£f:-,~ _____ -___ •·__         ___ • :        -. :
                                 Defendant(s) ~C\J~(} ___h~JJe.rtt. __t_{-ea,'h_Qf__ c~a- __ todd.1-ut.'8&_p_t,ecbllf..tL-
                                    ' G ~ ~l ~lit-~~~ I+ \-\1..t--e-H-~ t&u-1Lt:, r2,-e.pD1Lt-t.t-i_
                           2.    Court (iffederal ~our/, name the dis~rlct; if state court, name the county and State)

                                :J:.,>1. ~ UJ'.\ ~:\-ij Sk4{~o~·Sk<U~Ll.,til-----~---llistd.t:.
                                             () P ()~b~slq
                           3.    Docket or index number                            •



                           4.    Name of Judge assigned to your case

                                ili_SJt(Jb                  F _6 o,ta. Jlbb ______ ~nJoe                         Lll\_1~Jt'1___Stc:tk:~--
                                           l:),\.~'1 t~J. ~\ I /\\o>r
                           5.    Approximate' dateortiling~uhl

                                ____Q(}(l; l fA. _!)1)/).l)_ _ _ _ _ _ _ _ _ _ _ __
                          <{i ·'kthe· case still pendilig?
                                 ~Yes



                                •If no, give the approximate date of disposition.

                          7.     What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                                 in your favor? Was the case appealed?)                   /)
                                                                                       D 6 i1f\/{:SC:r, &tJ/; c.v f ft\ blt\t



              C.          Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
                          imprisonment?
                                                   Y\V

                                                                                                                                 Page 9 of 11
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                       D Yes
                     ~No


         D.          If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                     more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

                      1.    Parties to the previous lawsuit •
                            Plaintiff(s)
                            Defendant(s)

                      2.    Court (iffederal court, name the district; if state court, name the county dnd Stcite) '-




                      3.    Docket or index number



                      4.    Name of Judge assigned to your case



                      5.    Approximate date of filing lawsuit

                                                         ---·-·-------- - - ----·


                   .: f : Is_ th'e_ c.~s~. s!:ill pending?
                            0Yes



                            If no, give the approximate date of disposition

                     7.     What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                            in your favor? Was the case appealed?)




                                                                                                                        Page 10 of 11
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IX.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, l certify to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for fm1her investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



                      For Parties-Without-an-Attorney-

                      ! agree to provide the Clerk's Offic_e with ~n_y_chaJ:!g~s .!Q_my_Jtddres_s ~h(;:resase:-.1elat~ pap~rs.JnE:y_be__
                  • -served.- I understand tl1at my failure tci keep a current add1~·ss on file with the Clerk's Office may result
                      in the dismissal of my case.

                      Date of signing:


                      Signature of Plaintiff
                      Printed Name of Plaintiff
                      Prison Identification #
                      Prison Address

                                                                                Citv                      Stale      Zip Code


         B.          For Attorneys

                     ~~te ofsignihg: ...


                     Signature of Attorney
                                                                                             -------------------····-
                     Printed Nam~ of Attorni)y
                      Bar Number
                                                              ------- · - · - - - - - - - - - -
                     Name of Law Firm
                     Address

                                                                                Citv                      State      Zip Code
                     Telephone Number
                     E-mail Address




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              Douglas County
              DEPARTMENT OF CORRECTIONS
              710 SOUTH 17TH STREET
              OMAHA, NEBRASKA 68102 ,



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                                               U.S. DIS1'RIC1 JUDGE                                                                                                 i
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